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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


 IN RE: HILL’S PET NUTRITION, INC.
 DOG FOOD PRODUCTS LIABILITY                       MDL No. 2887
 LITIGATION
                                                   Case No. 19-md-2887-JAR-TJJ
 This Document Relates to All Cases,
 Except:

 Diana Anja Eichorn-Burkhard v. Hill’s
 Pet Nutrition, Inc. et al., No. 19-CV-
 02672- JAR-TJJ;

 and

 Bone v. Hill’s Pet Nutrition, Inc., No. 19-
 CV-02284-JAR-TJJ (This document
 DOES apply to all claims within these
 complaints that are included in the
 Settlement).



                                  JOINT STATUS REPORT

       Since the July 27, 2021 Final Approval Hearing, the Parties have worked with the Court-

appointed Settlement Administrator regarding the on-going review and validation of submitted

claims. The Parties submit this Status Report to provide an update on this process.

       The on-going initial review and validation of the submitted claims is nearing its conclusion.

The Settlement Administrator anticipates that the initial review of all submitted claims will be

complete by the end of November 2021. At this time, the Settlement Administrator estimates that

more than 30,000 Class Members have submitted valid claims. Once this initial review is

completed, the Parties will then meet and confer regarding any disputed claims that fall within

paragraph 49(a)(iii) of the Settlement Agreement, ECF No. 98-1 at 12-13.
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       As part of the on-going claims review and validation process, the Parties have discussed

the Court’s guidance at the Final Approval Hearing regarding any residual Settlement Funds and

paragraph 50 of the Settlement Agreement, which states in relevant part:

               If the total of the timely, valid and approved Claims is less than the
               available relief, minus any covered costs and expenses, each eligible
               Settlement Class Member’s award shall be pro rata increased to no
               more than two-times the value of the timely, valid and approved
               Claim absent any further written agreement by the Parties.
               Settlement Class Counsel may make an application to the Court to
               seek approval for proposed additional distributions of the Unpaid
               Funds to Settlement Class Members if such distributions are
               economically feasible and will not exceed more than two-times the
               value of the timely, valid and approved Claim, absent any further
               written agreement by the Parties.

ECF No. 98-1 at 14, ¶ 50. Consistent with this paragraph and subject to the Court’s approval, the

Parties are pleased to report that rather than the two-time multiplier limit, the Parties have entered

a written agreement that each eligible Settlement Class Member’s award shall be pro rata

increased to no more than 4.25-times the value of any timely, valid and approved claim.




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Dated: November 10, 2021

Respectfully submitted,

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